                         UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF WISCONSIN
                              MILWAUKEE DIVISION


 DARLENE BRUNETT,                               Case No. 2:18-cv-10185-DML
                                                EAS
        Plaintiff,
                                                Honorable Judge Lynn Adelman
 v.

 CONVERGENT OUTSOURCING, INC

       Defendant.


                 ORDER ON JOINT MOTION TO EXTEND DISCOVERY

       Counsel for Plaintiff, DARLENE BRUNETT, by and through her attorneys, SULAIMAN

LAW GROUP, LTD., having filed with this Court her Joint Motion to Extend Time and the Court

having reviewed same, hereby ORDERED.

       1. The discovery deadline shall be extend to and including, November 30, 2018.

     2. Dispositive Motions and Motion for Class Certification shall be filed no later than
December 30, 2018.



Dated: _______________


                                                   /s/ __________________________________
                                                                    Judge, U.S. District Court




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